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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

Westero Division

 

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-v- Case No. 2:02cr20368--D
AMANDA SMITH
ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:
(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this

case.
(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear as directed by the Court.

ADD|TlONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance

Secured Financial Conditions

0 Report as directed by the Probation Office.

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random

frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

¢ Other: Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCTIONS

TO THE DEFENDANT:

an ms docket sheet to "
AO 199A Order Settm!1 Poant,lgils“o?g;|`eta?m°nd c P on _1_
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A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fiiieen years or more, you
shall be fitted not more than 5250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that l am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware
of the penalties and sanctions set forth above.

 

Amanda Smith

2727 Highway 209 North
Ripley, TN 38063

(731) 635-8248

AO 199A Order Setting Condilions of Re|eese -2-

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DlRECTlONS TO THE UN|TED STATES MARSHAL

Pd The defendant is ORDERED released after processing
|Ii The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defenth has posted bond and/or complied with all other conditions for release The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: .luly22, 2005 A/L(l/Ml/ k @WM

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

AO 199A Order Setting Conditions of Re|ease '3'

l ISTIC COURT - WETERN DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:02-CR-20368 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listedl

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

